“Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 1 of 34—

challenging the jurisdiction of this Court (Docs. 271 and 272) also raise many of these issues,
to which tlie United States has already responded.

_ Defendant’s motions (Docs. 280, 282, 284 and 285), together with their supporting
briefs, (Docs. 28 land 283), largely rehash frivolous arguments that Defendant has previously
made. The United States previously addressed these assertions in Docs. 42, 71, 80, 93, 276
and 277. However, the United States stands ready to file supplemental responses should the
Court determine that such responses would be of assistance to the Court.

Respectfully submitted,

THOMAS SCOTT WOODWARD
UNITED STATES ATTORNEY

/s/ Kenneth P. Snoke

KENNETH P. SNOKE, OBA NO. 8437
Assistant United States Attorney

CHARLES A. O’REILLY, CBA NO. 160980
Special Assistant United States Attorney

110 West Seventh Street, Suite 300

Tulsa, Oklahoma 74119

(918) 382-2700

Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 2 of 344)

CERTIFICATE OF SERVICE

[ hereby certify that on the 27th day of January, 2010, I electronically transmitted the
foregoing document to the Clerk of Court using the ECF System for filing and transmittal
of a Notice of Electronic Filing to the following ECF registrants:

Lindsey K. Springer, Defendant

Oscar A. Stilley, Defendant

a

Robert Williams
Standby Counsel assigned to Lindsey Kent Springer °

Charles Robert Burton, IV
Standby Counsel assigned to Oscar Amos Stilley

/s/ Kenneth P. Snoke
Assistant United States Attorney

Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 3 of 34

EXHIBIT

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‘Ease 4:09-¢1-89943-BPK-pRocument Oe 2/ Filed iniVSDONDAAKOnn1d/18/10 Page 4 of 34

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,
Plaintiff,
V. Case No. 08-cv-0278-TCK-PIC

LINDSEY KENT SPRINGER, ef al.,

Defendants.

Le Se

UNITED STATES' RESPONSE TO MOTION FOR CONFESSION OF JUDGMENT

Judgment was entered in this action against Lindsey K. Springer and in favor of the
United States on March 16, 2010. The judgment was affirmed by the Tenth Circuit on June 23,
2911, and on or around June 4, 2012, the Supreme Court denied Springer’s Petition for Writ of
“ertiorari. Springer filed a Motion to Void Judgment on November 27, 2013, and when the
Jnited States did not respond filed a Motion for Confession of Judgment on January 15.

Springer asks that the Court exercise its discretion under Local Rule 7.2(f) and void the
judgment due to the Government's failure to respond to his November 27 motion. Good cause
exists for the failure to respond. This case was litigated by Civil Central Trial Section, United
States Department of Justice, Tax Division. Having completed litigation, the Section closed its
files on the matter in July 2013 (about a year after the denial of Springer’s certiorari petition).
James Strong, one of the two attorneys who was assigned the case is no longer with the Justice
Department. The other attorney, Robert Metcalfe, is no longer working in the Central Trial
Section. Thus, no attorney assigned the matter in the Tax Division received ECF notice when
Springer filed his Motion to Void Judgment. In the interest of justice, the United States requests

that the Court excuse its failure to timely respond to the Motion to Void Judgment.

‘Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 5 of 34
Case 4:08-cv-00278-TCK-PJC Document 277 Filed in USDC ND/OK on 01/17/14 Page 2 of 4

With respect to the merits of Springer’s motion, Springer claims that the judgment should
be deemed void because Thomas Scott Woodward was somehow not a legitimate United States
Attomey during the period the various levels of federal courts were ruling against him. In June
2009, Woodward was the First Assistant U.S. Attorney for the Northern District of Oklahoma.
When David O’Meilia resigned as the United States Attorney for the Northern District of
Oklahoma on June 28, 2009, Woodward became acting United States Attorney pursuant to 5
U.S.C. § 3345(a)(1), which provides that if an officer of an Executive agency whose appointment
is required to be made by the President, such as a U.S. Attorney, resigns, “the first assistant to
the office of such officer shall perform the functions and duties of the office temporarily in an
acting capacity subject to the time limitations of section 3346.” Section 3346, Title 5, linposes a
210-day limit on persons serving in such capacity."

At the end of the 210-day period, on January 25, 2010, the Attorney General appointed
Woodward as United States Attorney under 28 U.S.C. § $46(a). There is a 120-day limit for
persons appointed as a U.S. Attorney by the Attorney General. 28 U.S.C. § 546(c)(2). On May
25, 2010, at the end of the 120-day period, the Chief Judge of the Northern District of Oklahoma

appointed Woodward United States Attorney in accordance with 28 U.S.C. § 546(d).

| Filed herewith as Exhibit A to the Declaration of undersigned counsel, is a “Notification of
Personnel Action” form that shows Woodward as being First Assistant United States Attorney at
least as early as March 3, 2009. ’ ‘

2 Filed herewith as Exhibit B is Woodward’s “Appointment Affidavit” with respect to the
January 25, 2010, appointment.

3 Filed herewith as Exhibit C is a copy of the “Order of Appointment” and “Appointment
Affidavit” both signed on May 24, 2010, and made effective May 25, 2010.

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Woodward remained U.S. Attorney until the present United States Attorney, Danny Williams,
was confirmed by the Senate and took the oath of office in August 2012.
At all times while serving as the United States Attorney between June 28, 2009, and
August 2012, Woodward was vested with the full powers and authority of a United States
Attorney. See, generally, United States vy. Baldwin, 541 F. Supp.2d 1184 (D.N.M. 2008) (detailed
discussion of history and authority of non-Presidential appointed U.S. Attorneys). Congress put
into place a statutory framework that allows the U.S. Attorney position to be filled in the aones
of a person appointed by the President. See 5 U.S.C. § 3345 and 28 U.S.C § 546. That law was
followed in the instant situation. Springer’s argument to the contrary is unfounded and not a basis
to void the judgment.
in any event, “[a]n infirmity in the United States’ Attorney’s appointment would not
eeneraliy affect the jurisdiction of this court so long as a proper representative of the government
cpttaniontes in the action.” United States v. Ganit, \94 F.3d 987, 998 (9th Cir. 1999); United
States v. Baker, 504 F. Supp.2d 402, 407 (E.D. Ark. 2007) (government counsel efteors dis not
affect jurisdiction). The chief attorneys representing the United States in this present action were
Tax Division attorneys Metcalfe and Strong. Springer does not question their authority or the
propriety of their appearances.

Springer’s motion should be denied.
/} ’ ‘

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' Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK
Case 4:08-cv-00278-TCK-PJC Document 277 Filed in USDC NDISK 98 GLA e? Bage.7et34

Respectfully submitted,

DANNY C. WILLIAMS
United States Attorney

/s/ Martin M. Shoemaker

MARTIN M. SHOEMAKER

U.S. Dept. of Justice, Tax Division
P.O. Box 7238

Washington, D.C. 20044
202-514-6491 (v)

202-514-6770 (f)
Martin.M.Shoemaker@tax.usdoj.gov

Certificate of Service

Thereby certify that on this [7th day of January 2014, I electronically filed the foregoing
Linited States’ Response to Motion for Confession of Judgment with the Clerk of Court using the
OM/ECF system, which wiil send notification of such filing to the following: all counsel of
record.

{ further certify that on this 17th day of January 2014, I served the same document by
U.S. Postal Service on the following non-CM/ECF participants:

Lindsey K. Springer
Reg. # 02580-063
Federal Satellite Low
P.O. Box 6000
Anthony, NM 88021

/s/ Martin M. Shoemaker

’ Case 4:09-cr-00043-SPF Document 675-2 Filed i
Case 4:08-v-00278:TCK-PIC Document 277-1 Filed OS RO Co HHP HR, Frage 4 oe

IN THE UNITED STATES DISTRICT COURT FOR THE
NORTHERN DISTRICT OF OKLAHOMA

UNITED STATES OF AMERICA,

Plaintiff,

LINDSEY KENT SPRINGER, ef al.,

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)
)
Vv. ) Case No. 08-cv-0278-TCK-PJC
)
)
)
Defendants. )

_)

DECLARATION OF MARTIN M. SHOEMAKER

1. Lama trial attorney with the United States Department of Justice, Tax Division,
CTS-Central Section, with an office in Washington, D.C. [am the attorney assigned to represent
the United States in the above-captioned action.

2. Attached hereto as Exhibits A, B, and C are documents obtained from the United
Stares Attorney’s Office for the Northern District of Oklahoma to be used in this matter.

3. Exhibit A is a copy of a “Notification of Personnel Action” form pertaining to Thomas
Scott Woodward. (Exhibit A has been redacted for privacy reasons.)

4. Exhibit B is a copy of an “Appointment Affidavit” signed on January 22, 2010, by
Thomas Scott Woodward.

5. Exhibit C consists of two pages. The first page is a copy of the “Order of
Appointment” issued by the United States District Court for the Northern District of Oklahoma
filed May 24, 2010, in which Thomas Scott Woodward is appointed United States Attorney
pursuant to 28 U.S.C. § 546(d). The second page is a copy of an “Appointment Affidavit”

signed on May 25, 2010, by Thomas Scott Woodward.

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CASE 08 Ch CONFER E POG UENA R27 7T GRAN PSBSNORK CARAS Page 2 af 64

Case 4:08-cv-0

I declare under penalty of perjury that the foregoing is true and correct.

Executed on January 17, 2014, in Washington, D.C.

/s/ Martin M. Shoemaker
MARTIN M. SHOEMAKER

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u.S. DEPAREMENT OF JUSTICE/USA

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Case 4:08-cv-00278-TCK-PJC Document 277-1 Filed in USDC ND/OK on 01/17/14 Page 4 of 6

APPOINTMENT AFFIDAVITS

United States Atlommcy 1-25-2010

{Pogition to witch Appowied) (Date Appointed}

Department of Justice Tulsa, Oklahoma

(Daparmeant or Agancy} . (Sureau or Olision) , (Place of Employment)
j, Thomas Scott Woodward , do solemnly swear (or affirm) that—

A. OATH OF OFFICE

| wil support and defend the Constitution of the United States against all enemies, foreign and domestic;
that | will bear true faith and allegiance to the same; that Ltake thls olsligation freely, without any mental
rasarvation or purpose of evasion, and that | wit wall and faithfully discharge the duties of the office on which
lam about fo enter. So help me Goa.

8. AFFIDAVIT AS TO STRIKING AGAINST THE FEDERAL GOVERNMENT

. } am nei participating in any strike against the Government of the United Sistes or any agericy thereof,
’ and! will net so participate while an employee of the Goverment of the United States or any agency

thereol.

Gc. AFFIDAVIT AS TO THE PURGHASE AND SALE OF OFFICE

| have not, nor has anvone acting in my behalf, given, transferred, promised ar paid any cansideration
for or in expectation or hope of receiving assistance in securing this appointment.

>

(Signature of Appeinive}

Subscribed and sworn {or affirmed) befora me this22__ cay of January _ 219

at lulsa Oklahoma

{City} (Stete} ) (\ \ /,
{ ChE te, ONL het ri.
x al i SEAL) (Signature of Officer}

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Note - If the appointee objects to the form of the oath on religious grounds, certaln-madifications may ba perrnittad pursuant’ to the
Raligioua Fraadom Restoratlon Act, Please conlact your agency's legal caunsel for acivice. ,

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The Guide to Processing Personnel Actions

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MAY 24 2010

UNITED STATES DISTRICT COURT Phil Lombardi, Clerk
NORTHERN DISTRICT OF OKLAHOMA U.S. DISTRICT COURT
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OF APPOINTMENT }  QRDER OF APPOINTMENT
} .
OF THOMAS SCOTT WOODWARD )
)
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AS UNITED- STATES ATTORN EY

‘Pursuant to Title 28, United States Code, Section 546(d), Thotnas Scott Woodward is
appointed as the United States Attomey for the Northem District of Oklahoma, effective May 25,
2616,

Gee.

DONS ANG ORDERED at Fulsa, Oklahoma, this” 4 day of May, 2016.

For the Court:

Cette 2 f Za U—
The Honorable Claire ¥. Bagdn
Chief Fudge
Northern District of Oklahoma

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Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 13 of 34
Case 4:08-cv-00278-TCK-PJC Document 277-1 Filed in USDC ND/OK on 01/17/14 Page 6 of 6

APPOINTMENT AFFIDAVITS

United States Atomey May 25, 2010

(Position to which Appointed) (Date Apposited}

Departinent of Justice U.S. Attormey’s Office Tulsa, Oklahoma

(Deparment or Agency) (Bureau or Obdsion} (Place of Employment}

, Thomas Scott Woodward : _ do solemnly swear (ac affirm) thal

A. CATH OF OFFICE

{ will support and defend the Constitution of the United States against all enemies, foreign and domestic,
that f wif bear true faith and allegiance to the sama; that | take this obligation freely, without any mental
reservation or purpose of evasion; and that! will well and faithfully discharge the duties of the affice on which
1 am about to enter. Sa help me God.

8 AFFIDAVIT AS TO STRIKING AGAINST THE FEDERAL GOVERNMENT
: arn net participating in any strike against the Government of the United States or any agency thereof,

and i will not so participate while an employee of the Government of the United States or any agency

ihereat. -

Cc. AFFIDAVIT AS TO THE PURCHASE AND SALE OF OFFICE

{ have not, nor has anyone acting in my vehailf, given, transferred, promised or paid any consideration
for or in expectation or hope of receiving assistance in securing this appointment PA

Subscribed and sworn (or affirmed) before me this25!2 day of May _ wid
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Note - If the appolatea objects te the form of the oath on religious crounds, certain modifications may be permitied pursuant to the
Religious Frescem Restoration Act. Please contac! your agency's “gal counsal far advice.

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The Guide to Processing Personnet Actions NSM 7540-00-634-4015 Previous edelons not usable
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U.S. Department of Justice

DANNY C. WILLIAMS, SR.
United States Attorney
Northern District of Oklahoma

110 W 7" Street, Suite 300 Telephone: (918) 382-2700
Tulsa, OK 74119 Fax: (918) 560-7949

January 3, 2014

Charles A. O’Reilly
Department of Justice

Tax Division

601 D Street, N.W., Suite 7032
Washington, DC 20530

Dear Mr. O’Reilly:

Your appointment as a Special Assistant United States Attorney for the Northern
District of Oklahoma is hereby extended effective the date of this letter, not to exceed
January 5, 2015. This extension is subject to the conditions set forth in the original
appointment letter. You will continue to serve without compensation. No additional
appointment papers are necessary.

Sincerely,

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DANNY Ci WILLIAMS, SR.
UNITED STATES ATTORNEY
Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 16 of 34

EXHIBIT

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U.S. Department of Justice

DANNY C. WILLIAMS, SR.
United States Attorney
Northern District of Oklahoma

110 W7'h Street, Suite 300 — Telephone: (918) 382-2700
Tulsa, OK 74119 Fax: (918) 560-7949

January 5, 2016

Charles A. O’Reilly
Department of Justice

Tax Division

601 D Street, N.W., Suite 7032
Washington, DC 20530

Dear Mr. O’Reilly:

Your appointment as a Special Assistant United States Attorney for the Northern
District of Oklahoma is hereby extended effective the date of this letter, not to exceed
January 5, 2017. This extension is subject to the conditions set forth in the original
appointment letter. You will continue to serve without compensation. No additional

appointment papers are necessary.
Je
C. eb

DANNY C. WILLIAMS, SR.
UNITED STATES ATTORNEY

Sincerely,
Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 18 of 34

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U.S. Department of Justice

DANNY C. WILLIAMS, SR.
United States Attorney
Northern District of Oklahoma

110 W 7 Street, Suite 300 Telephone: (918) 382-2700
Tulsa, OK 74119 Fax: (918) 560-7949

December 21, 2016

Mr. Charles O’Reilly
Department of Justice

Tax Division

601 D Street, N.W., Suite 7032
Washington, DC 20530

Dear Mr. O’ Reilly:

Your appointment as a Special Assistant United States Attorney for the Northern
District of Oklahoma is hereby extended effective the date of this letter, not to exceed
January 5, 2018. This extension is subject to the conditions set forth in the original
appointment letter. You will continue to serve without compensation. No additional

appointment papers are necessary.
iq 0 Muh Sr,

DANN ote WILLIAMS, SR.
UNITED STATES ATTORNEY

Sincerely,
Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 20 of 34

EXHIBIT

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U.S. Department of Justice

R. TRENT SHORES
United States Attorney
Northern District of Oklahoma

110 West Seventh Street, Suite 300 = Telephone (918) 382-2700
Tulsa, Oklahoma 74119 Fax (918) 560-7954
r.trent.shores@usdoj.gov

January 3, 2018

Mr. Charles O’Reilly
Department of Justice

Tax Division

601 D Street, NW, Suite 7032
Washington DC 20530

Dear Mr. O'Reilly:

Your appointment as a Special Assistant United States Attorney for the Northern
District of Oklahoma is hereby extended effective the date of this letter, not to exceed
January 5, 2020. This extension is subject to the conditions set forth in the original
appointment letter. You will continue to serve without compensation. No additional

appointment papers are necessary.

Sincerely,

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R. TRENT SHORES
UNITED STATES ATTORNEY
Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 22 of 34

EXHIBIT

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UNITED STATES DEPARTMENT OF JUSTICE

OFFICE OF THE UNITED STATES ATTORNEY
NORTHERN DISTRICT OF OKLAHOMA

R. TRENT SHORES
UNITED STATES ATTORNEY

110 West Seventh Street, Suite 300 » Tulsa, Oklahoma, 74119 + (918) 382-2700 = www.justice.gov/usao-ndok

March 26, 2018

Charles O’Reilly

Department of Justice

Tax Division

601 D Street, NW, Suite 7032
Washington, DC 20530

Re: Special Assistant United States Attorney Extension
Dear Mr. O'Reilly:

Your appointment as a Special Assistant United States Attorney for the
Northern District of Oklahoma is hereby extended effective January 3, 2018, not to
exceed January 2, 2020. This extension is subject to the conditions set forth in the
original appointment letter under 28 U.S.C. § 543 dated January 5, 2009. You will
continue to serve without compensation. No additional appointment papers are
necessary.

Sincerely,

R. TRENT SHORES
UNITED STATES ATTORNEY
Case 4:09-cr-00043-SPF Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 24 of 34

EXHIBIT

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* Case 4:09-cr-00043-SPF—.Document 675-2 Filed in USDC ND/OK on 11/18/19 Page 25 of 34

U.S. Department of Justice

Tax Division

Washington, D.C. 20533

July21, 2015

CMB:SNWARD
FOIPA/TAX # 10875

Certified Mail No. 7011 3500 0003 2475 8169
RETURN RECEIPT REQUESTED

Me. Lindsey Kent Springer
Reg. #02580-063

Federal Satellite Low-La Tuna
P.O. Box 6000

Anthony, NM 88021

Dear Mr. Springer:

- This responds to your Freedom of Information Act request dated March 25, 2015.
The Tax Division's Freedom of Information Act (FOIA) and Privacy Act (PA) Unit
received your request on April 1, 9015; it was perfected on April 1, 2015.

We understand from your request that you seek information about:

__ yourself.

__a third party taxpayer (individual).

__athird party taxpayer (entity).

__ the Division's policies or procedures.

_/ _other. Any: documentation pertaining to or showing the authorization
and/or appointment of Charles A. O'Reilly, from December 1, 2008 through January L
2015.

The Tax Division has determined that 2 page is from its records is responsive to
* your request. It is released in full and enclosed with this letter.

If you are not satisfied with my response to your request, you may
administratively appeal by writing to the Director, Office of Information Policy, United
States Department of Justice, Suite 11050, 1425 New York Avenue, NW, Washington,
‘ot

p Case. 4-09-cr-00045-SPF Document 675-2 Filed in USDC ND/OK pn. 11/18/19 Page 26 of 34

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- REVISED SEPTEMBER 1970
U.S. CIVIL SERVICE COMMISSION
F.P.i4. CHAPTER 295

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APPOINTMENT AFFIDAVITS
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Law Clerk November 16, 1992
(Posltton to toh {ch appo{nicd) (Date of appoiniment)
U.S. Dept. of Justice Tax Division Washington, DC

(Department or agency) ‘ ° (Burca or dlvfsion) (Place of cmipioynicut)

I, ___- Charles A. O'Reilly ,do solemnly swear (or affirm) that—

A. OATH OF OFFICE

I will support and dofend the Constitution of tho United States against all enemies, foreign and
domestic; that I will bear true faith and allegianco to ‘tho saino; that I take this obligation freely,
without any mental reservation or purpose of evasion ; and that I will. woll and faithfully discharge
tho duties of tho office on which Lam about to entor. So help mo God.

B. AFFIDAVIT AS TO STRIKING AGAINST THE FEDERAL GOVERNMENT

Tam not participating in any strilce against the Governmont of tho United States or any agency
thoreof, and I will not so participate whilo an employee of tho Government of the United States or
any agency thereof. : .

C. AFFIDAVIT AS TO PURCHASE AND SALE OF OFFICE t

I havo not, nor has anyone acting in my behalf, given, transferred, promised or paid any con-
sidoration for or in oxpectation or hopo of receiving assistance in securing thisappointinent.

(Stonaturc of angst)

Subscribed and sworn (or affirmed) before mo this 16th day of November A.D. 1932 _,
at - Washington ‘ DC °
(ety) (State)

(Signature of officcr)
oe PerSonnal fas) sll

(Ifby o Notary Publle, the date of expiration (Title)
of his Commission should bo shown)

NOTE.—Tiic oath of office must be adinfilstered by a person spectfied tn § U.S.C. 2903. The wcords “So help me dod"
in the oath and the 10rd “sicear™ whercecr if appears abouc akould be elricken out token the appointee clecls
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NOTIFICATION OF PERSONNEL ACTION

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EXHIBIT

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U.S. Department of Justice

Executive Office for United States Attorneys

Freedom of Information and Privacy Staff Suite 5.400, 3CON Building (202) 252-6020
175 N Street, NE FAX (202) 252-6048
Washington, DC 20530

September 6, 2018

Lindsey K. Springer
#02580-063

FSC

P.O. Box 9000
Seagoville, TX 75159

Re: Request Number: FOIA-2018-001749 Date of Receipt: January 25, 2018
Subject: AUSA Oath (Charles A. O’Reilly) - EOUSA Personnel

Dear Requester:

In response to your Freedom of Information Act and/or Privacy Act request, the
paragraph(s) checked below apply:

1. [x ] A search for records by EOUSA- Personnel has revealed no responsive records regarding
the above subject. [EOUSA does not maintain records on former employees. Please see
attachment regarding possible location of information you seek in DOJ Tax Division. ]

2. [ ]A search for records located in the United States Attorney’s Office(s) for the
has revealed no responsive records regarding the above specific subjects.

[ ] After an extensive search, the records which you have requested cannot be located.

Go

4. [ ] Your records have been destroyed pursuant to Department of Justice guidelines.

Nn

[ ] Please note that your original letter was split into separate files (“requests”), for processing
purposes, based on the nature of what you sought. Each file was given a separate Request
Number (listed below), for which you will receive a separate response:

This is the final action on this above-numbered request. If you are not satisfied with my
response to this request, you may administratively appeal by writing to the Director, Office of
Information Policy (OIP), United States Department of Justice, Suite 11050, 1425 New York
Avenue, NW, Washington, DC 20530-0001, or you may submit an appeal through OIP's
FOTAonline portal by creating an account on the following web site:
https://foiaonline.regulations.gov/foia/action/public/home, Your appeal must be postmarked or
electronically transmitted within ninety (90) days of the date of my response to your request. If

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you submit your appeal by mail, both the letter and the envelope should be clearly marked
“Freedom of Information Act Appeal.”

You may contact our FOIA Public Liaison at the telephone number listed above for any
further assistance and to discuss any aspect of your request. Additionally, you may contact the
Office of Government Information Services (OGIS) at the National Archives and Records
Administration to inquire about the FOIA mediation services they offer. The contact information
for OGIS is as follows: Office of Government Information Services, National Archives and

- Records Administration, 8601 Adelphi Road-OGIS, College Park, Maryland 20740-6001; e-mail
at ogis@nara.gov; telephone at 202-741-5770; toll free at 1-877-684-6448; or facsimile at 202-
741-5769.

Sincerely,
OO Oe

Kevin Krebs
Assistant Director

Form No. 005 - 12/15
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FOIA

FOIA Contact

Carmen M. Banerjee

Senior Division Counsel for FOIA and PA Matters
Tax Division

Department of Justice

P.O. Box 227

Ben Franklin Station

Washington, DC 20044

(202) 616-3399 (FOIA Servicing Center)

(202) 307-0462 (FOIA Public Liaison)

TaxDiv.F OIAPA@usdoj.gov

Conventional Reading Room:

Call (202) 616-3399 for access instructions.

FOIA Library:

This includes records created by the Tax Division on or after November 1, 1996 and may include earlier
records converted to electronic format.

Component Description:

The Tax Division's chief activity is to represent the Internal Revenue Service in civil and criminal litigation.
It also represents other Federal agencies that may have problems with state and local taxing authorities.
Consequently, the Tax Division maintains information primarily about civil and criminal tax litigation, either
actual or contemplated. This information is stored in files that are indexed in central classification systems
under the names of the individuals or entities who are parties to the litigation. In addition, the Tax Division
maintains some information relating to various procedures and guidelines for processing tax cases, as
well as files on its administrative functions.

General information about making a FOIA request

, 1. Under the Freedom of Information Act (FOIA) (5 USC §52) and Department of Justice
regulations, any person may request Tax Division records.

2. All FOIA requests must be made in writing, signed, and mailed to the above address. Alternatively,
all requests made pursuant to items 2 and 3 may be electronically sent to
TaxDiv.FOIAPA@usdoj.aov. All attachments to e-mail requests must be attached as pdf files.

3. Individuals requesting records about themselves must verify their identity before the Tax Division
will process the request. One verification method is to complete DOJ Form 361 (Certificate of
Identity) and attach it to the request. Please click here to download DOJ Form 361.

https://www.justice.gov/tax/foia 9/6/2018
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... 4. For more information.abaut making FOIA requests, please refer to the DOJ Reference Guide, a
comprehensive guideto the FOIA that serves as a handbook for obtaining information from the
Department of Justice and to 28 C.F.R. 16.3 ("Requirements for Making Requests").

Information about making a FOIA request to the Tax Division

1. FOIA does not require agencies either to create records or to provide narrative responses to
inquiries that do not request records. Therefore, requests should seek only existing Tax Division
records that do not fall under a specific disclosure exemption (e.g., classified national security
matters, personal privacy material, investigative files, trade secrets, privileged information, etc.).
See 5 U.S.C. 552(b).

2. To understand the types of records the Tax Division maintains, please see the Component
Description above. Individuals seeking records primarily maintained by the Internal Revenue
Service, like Forms 1040 or other IRS forms filed with the Service, should submit their FOIA
requests in writing to the Internal Revenue Service. See www.irs.gov/foia. The Tax Division does
not: (1) process FOIA requests on behalf of the Service, (2) handle general or specific inquiries
pertaining to identity theft pertaining to tax returns. See, http:/Avww.irs.gov/Individuals/Identity-
Protection for information about identity theft inquiries.

Publicly available information for which a FOIA request is not required:

Criminal Tax Manual, Judgment and Collection Manual, Settlement Reference Manual, Summons
Enforcement Manual, and the log of FOIA requests made during fiscal year 2009.

Please click on the links above to access any of these documents, and note that each link goes to the
Electronic Reading Room.

Major Information Systems

Former Assistant Attorneys General

Updated October 12, 2016

Was this page helpful?
Yes No

https://www.justice.gov/tax/foia 9/6/2018
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FTC Oklahoma City

7500 S. MacArthur Blvd,

P.O. Box 8801

Oklahoma City, OK 73189-8801

DATE: ——NOV 15 2019

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‘Or forwarding to another addressee, pleas return the enclosure to the

above address,”
SIBSON, CASE MANAGER

Page 34 of 34.
